                          Case 5:21-cv-00844-XR Document
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                                                          SERVICE

                                                 UNITED STATES DISTRICT COURT
                                                     Western District of Texas

Case Number; 5:21-CV-00844-FB

Plaintiff:
LA UNION DEL PUEBLO ENTERO, ET AL.,
vs.
Defendant:
GREGORY W. ABBOTT, ET AL.,

For;
Nina Perales - NEW
MALDEF
110 Broadway
Ste 300
San Antonio, TX 78205

Received by Kim Tindall & Associates on the 10th day of September, 2021 at 1:10 pm to be served on Jose A. Esparza,Deputy
Secretary of State, 1100 Congress, Capitol Building, Room 1E.8A, Austin, Travis County, TX 78701.

I, Kelly MurskI, being duly sworn, depose and say that on the 13th day of September, 2021 at 1:10 pm, I:

executed to a GOVERNMENT AGENCY by delivering a true copy of the Summons in a Civil Action, Complaint for Declaratory
and Injunctive Relief with the date of delivery endorsed thereon by me, to Webb Jerome, Office of Secretary of State at the
address of 1019 Brazos, Austin, Travis County, TX 78701 as Authorized Agent for Jose A. Esparza,Deputy Secretary of State,
and informed said person of the contents therein.



I certify that 1 am over the age of 18, have no interest in the above action, and am a certified process server, in good standing, in the
judicial circuit in which the foregoing occurred. The facts in this affidavit are within my personal knowledge and true and correct.




                                                                                                                Kelly Murski    J
Subscribed and sworn to before rrie on the                                                                      PSC-5912, Exp. Ip/31/2022
day                                 by the affiant
                known to me.
                                                                                                                Date

                                                                                                               Kim Tindall & Associates
NOTARY PU6L'IC
                                                                                                               16414 San Pedro
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                        UlCOLEM.WADE                                                                           San Antonio, TX 78232
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